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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

CONNIE E. EATON and MICHAEL
EATON,                                     Cause No. CV-17-00168-DLC-RWA
                   Plaintiffs,
                                           STIPULATION FOR DISMISSAL
        vs.                                     WITH PREJUDICE
ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY, and JOHN
DOES I through III,
                   Defendants.

      IT IS HEREBY STIPULATED, by and between the parties hereto, through

their respective counsel of record, pursuant to Rule 41, Federal Rules of Civil

Procedure, that Plaintiffs’ claims against Defendant Allstate Fire and Casualty

Insurance Company and John Does I-III in the above-captioned action have been

fully and finally compromised and settled on the merits, and counsel request the

Court’s Order dismissing the above-captioned action with prejudice.


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      A proposed Order for Dismissal with Prejudice is attached for the Court’s

consideration.

      DATED this 19th day of June, 2018

                                      MOORE, COCKRELL,
                                      GOICOECHEA & JOHNSON, P.C.

                                      /s Dale R. Cockrell
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